         Case 8:11-cv-01457-RWT Document 15 Filed 09/19/12 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                                                                               == ==  FILED
                                                                                      LOGGED
                                                                                                        ENTERED
                                                                                                        RECEIVED



                     FOR THE DISTRICT OF MARYLAND                                     SEP 1 9 2012
                                        Southern Division                                AT GREENBELT
                                                                                   CLERK. us DISTRICT COURT
                                                                                     DISTRICT OF MARYLAND
John B. Kimble,
  Plaintiff                                                                   BY   QSY                        OE?UT'!




      V.                                           Civil No. RWT ll-CV1457

Rajesh Rajpal
 Et al Defendants

                                   NOTICE OF APPEAL

  Comes now, the plaintiff, John B. Kimble, pursuant to Federal Rules of Appellant Procedure

to hereby Appeal the Decision of this Court dated August 8, 2012, and August 28, 2012, to the

Fourth Circuit Court of Appeals.

September 17, 2012
                                            RerrC11YS~
                                           JO~ble
                                           Plaintiff
                                           P.O. Box 127
                                           Spencerville, Maryland 20868
                                           301-408-3000
        Case 8:11-cv-01457-RWT Document 15 Filed 09/19/12 Page 2 of 3
           Case 8:11-cv-01457-RWT Document 14 Filed 08/28/12 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                *
JOHN B. KIMBLE,                                 *
                                                *
     Plaintiff,                                 *
                                                *
v.                                              *   Case No.: RWT IIcvl457
                                                *
                                                *
RAJESH K. RAJP AL, et al.,                      *
                                                *
     Defendants.                                *
                                                *
                                                *
                                            ORDER

        On August 22, 2012, Plaintiff filed a Motion for Reconsideration.        See ECF No. 13.

Upon consideration of Plaintiffs Motion for Reconsideration, the Court concluding that it is

without merit, it is on this 28th day of August, 2012, by the United States District Court for the

District of Maryland, hereby

        ORDERED, that Plaintiffs Motion for Reconsideration [ECF No. 13] is DENIED.



                                                                           lsi
                                                              ROGER W. TITUS
                                                       UNITED STATES DISTRICT JUDGE
          Case 8:11-cv-01457-RWT Document 15 Filed 09/19/12 Page 3 of 3
           Case 8:11-cv-01457-RWT Document 12 Filed 08/08/12 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                *
JOHN B. KIMBLE,                                 *
                                                *
     Plaintiff,                                 *
                                                *
v.                                              *    Case No.: RWT l1cv1457
                                                *
                                                *
RAJESH K. RAJP AL, et a1,                       *
                                                *
     Defendants.                                *
                                                *
                                                *
                                            ORDER

          For the reasons stated in the accompanying Memorandum Opinion, it is this 8th day of

August, 2012, by the United States District Court for the District of Maryland,

          ORDERED, that Defendants' Motion to Dismiss [ECF No.3-I]         is GRANTED and the

Complaint is DISMISSED without prejudice; and it is further

          ORDERED, that judgment for costs be entered in favor of the Defendants; and it is

further

          ORDERED, that that the Clerk is directed to CLOSE the case.




                                                                      /s/
                                                               ROGER W. TITUS
                                                        UNITED STATES DISTRICT JUDGE
